              Case 2:08-cr-00427-MCE Document 521 Filed 09/28/11 Page 1 of 2


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 5 Attorney for Zoya Belov

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 7
                                      UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10 UNITED STATES OF AMERICA,                       )   CASE NO. CR 2:08-427 - MCE
                                                   )
11                                 Plaintiff,      )
                                                   )
12                                                 )
     v.                                            )
13                                                 )   STIPULATION AND ORDER TO
                                                   )   RELIEVE DEFENDANT OF ELECTRONIC
14 ZOYA BELOV,                                     )   MONITORING RELEASE CONDITION
                                                   )
15                                 Defendant.      )
                                                   )
16 __________________________________              )

17

18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective

19 counsel, Phil Ferrari, Assistant United States Attorney, attorney for plaintiff; Jean Hobler, Assistant

20 United States Attorney, attorney for plaintiff; and Kyle Knapp, attorney for defendant, ZOYA BELOV,

21 that Ms. Belov be relieved of the electronic monitoring component of her release conditions.

22          Her pretrial services officer, Daryl Walker contacted AUSA, Jean Hobler, and myself and

23 suggested that because Ms. Belov had been compliant with her electronic monitoring conditions and

24 curfew for the past six months would anyone object to relieving her of the electronic monitoring

25 component of her release. Ms. Hobler indicated that she had no objection to that request.

26          Accordingly, counsel for the government and the defendant hereby stipulate that Ms. Belov be

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              Case 2:08-cr-00427-MCE Document 521 Filed 09/28/11 Page 2 of 2


 1 taken off electronic monitoring as a condition of her release.

 2 Dated: September 26, 2011                                    Respectfully submitted.

 3
                                                                  /s/ Kyle R. Knapp
 4                                                              Kyle R. Knapp
                                                                Attorney for Defendant, Zoya Belov
 5

 6 Dated: September 26, 2011                                    Respectfully submitted.

 7
                                                                  /s/ Phil Ferrari
 8                                                              Phil Ferrari
                                                                Assistant U.S. Attorney
 9                                                              Attorney for Plaintiff

10 Dated: September 26, 2011                                    Respectfully submitted.

11
                                                                  /s/ Jean M. Hobler
12                                                              Jean M. Hobler
                                                                Assistant U.S. Attorney
13                                                              Attorney for Plaintiff

14

15                                                   ORDER

16 IT IS HEREBY ORDERED that Ms. Belov’s release conditions be modified so that she is no longer

17 subject to electronic monitoring. All other terms and conditions will remain in effect.

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20 Dated: September 28, 2011

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                                                         _____________________________________
24                                                       KENDALL J. NEWMAN
                                                         UNITED STATES MAGISTRATE JUDGE
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                                                         2                                   11CR069-JAM
